       Case 1:18-cv-01654-JEJ-KM Document 7 Filed 09/11/18 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 JOSHUA A. MONIGHAN          :
                   Plaintiff :
                             :                   No. 1:18-CV-1654
            v.               :
                             :                   Judge Jones
 TOM WOLF GOVERNOR           :
 COMMONWEALTH OF PA          :                   Electronically Filed Document
                             :
                             :                   Complaint Filed 08/21/18
                             :
                 Defendants :


               DEFENDANT WOLF’S MOTION TO DISMISS

      Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Wolf, by and

through his undersigned attorneys, hereby files this Motion to Dismiss the Complaint

filed by the Plaintiff in the above-captioned action. In accordance with Local Rule

7.5, Defendant Wolf will file a Brief in Support of his Motion to Dismiss within

fourteen (14) days of the filing of this Motion to Dismiss, setting forth the reasons

supporting this Motion to Dismiss. A proposed Order has been filed herewith.

      WHEREFORE, for the reasons set forth in Defendant Wolf’s forthcoming

Brief in Support of his Motion to Dismiss, Defendant Wolf respectfully requests that

this Honorable Court grant his Motion to Dismiss, and dismiss the Plaintiff’s

Complaint, with prejudice.
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                                        Respectfully submitted,

                                        JOSH SHAPIRO
                                        Attorney General


                                 By:    s/ Keli M. Neary
                                        KELI M. NEARY
Office of Attorney General              Chief Deputy Attorney General
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kneary@attorneygeneral.gov

Date: September 11, 2018
                                        Counsel for Defendant




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                         CERTIFICATE OF SERVICE
      I, Keli M. Neary, Chief Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on September 11,

2018, I caused to be served a true and correct copy of the foregoing document

titled Motion to Dismiss to the following:

 VIA U.S. MAIL

 Joshua A. Moniighan
 6363 Basehore Road
 Mechanicsburg, PA 17050
 Pro Se

                                       s/ Keli M. Neary
                                      KELI M. NEARY
                                      Chief Deputy Attorney General
